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                            EXHIBIT “B”
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

MARK E. FELGER (MF9985)
JERROLD N. POSLUSNY (JP7140)
COZEN O’CONNOR
LibertyView, Suite 300
457 Haddonfield Road
Cherry Hill, NJ 08002
(856) 910-5000
Attorneys for the Debtors

In re:                                                  Case No. 08-14631 (GMB)
                                                        (Jointly Administered)
SHAPES/ARCH HOLDINGS L.L.C., et al.,
                                                        Judge: Gloria M. Burns
                Debtors.
                                                        Chapter: 11

           NOTICE OF DEADLINE TO FILE REQUESTS FOR ALLOWANCE OF
             ADMINISTRATIVE EXPENSE CLAIMS INCURRED BETWEEN
              MARCH 16, 2008 THROUGH AND INCLUDING JUNE 15, 2008

          TO:   ALL PERSONS OR ENTITIES THAT HOLD OR MAY HOLD
                ADMINISTRATIVE EXPENSE CLAIMS AGAINST ANY OF THE
                DEBTORS

        Please take notice that the Bankruptcy Court for the District of New Jersey has entered an
Order in the above-captioned cases (the “Administrative Expense Bar Date Order”) establishing
June 30, 2008, as the administrative expense bar date (the “Administrative Expense Bar Date”).
Except as described below, the Administrative Expense Bar Date Order requires that any
administrative expense claims against any of the Debtors, arising between March 16, 2008
through and including June 15, 2008, must be filed by submitting a request for administrative
expense (the “Administrative Expense Claim Request”) with the Debtors’ claims agent, Epiq
Bankruptcy Solutions, LLC (“Epiq”), Grand Central Station, P.O. Box 4601, New York, NY
10163-4601 (for regular mail) or 757 Third Avenue, Third Floor, New York, NY 10017 (for
overnight mail), so that such Administrative Expense Claim Request is actually received on or
before the Administrative Expense Bar Date.

        An Administrative Expense Claim Request is deemed filed only when it is actually
received by Epiq and facsimile submissions will not be accepted. A form of Administrative
Expense Claim Request is attached hereto. A copy of the Administrative Expense Claim
Request must also be served upon the Debtors’ counsel at the following address: Cozen
O’Connor, LibertyView, Suite 300, 457 Haddonfield Road, Cherry Hill, NJ, 08002, Attn:
Jerrold N. Poslusny, Jr., Esq.

          Epiq may be contacted at (866) 890-1550 if there are questions with respect to this
Notice.

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                                                          Approved by Judge Gloria M. Burns May 28, 2008
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       Pursuant to the Administrative Expense Bar Date Order, all persons or entities who assert
a claim for the actual, necessary costs and expenses of preserving the estates allowable under 11
U.S.C. §503 (including, for the avoidance of doubt, claims under §503(b)(9)), arising between
March 16, 2008 through and including June 15, 2008 (an “Administrative Expense Claim”),
must file with Epiq and serve upon the Debtors’ counsel an Administrative Expense Claim
Request for allowance of an Administrative Expense Claims.1 The Administrative Expense Bar
Date shall not apply to claims arising under § 503(b)(2) and claims for expenses of any
committee member appointed in accordance with § 1102.

       Any person or entity that is required to but fails to file and serve an Administrative
Expense Claim Request in accordance with the Administrative Expense Bar Date Order on or
before the Administrative Expense Bar Date SHALL BE FOREVER BARRED AND
ESTOPPED AND ENJOINED from asserting an Administrative Expense Claim against any of
the Debtors or the Debtors’ estates.

        Each person or entity (including, without limitation, each individual, partnership, joint
venture, corporation, estate, and trust) that asserts an Administrative Expense against any of the
Debtors that arose between March 16, 2008 through and including June 15, 2008, must file with
Epiq and serve on the Debtors a request for payment of Administrative Expenses on or before
June 30, 2008, the Administrative Expense Bar Date or forever be barred from asserting claims
for such Administrative Expenses.

Dated: May 23, 2008                                 COZEN O’CONNOR


                                             By:    /s/ Jerrold N. Poslusny, Jr.
                                                    Mark E. Felger
                                                    Jerrold N. Poslusny, Jr.

                                                    Attorneys for the Debtors

          Debtor                            Address                          Case No.
Shapes/Arch Holdings L.L.C.      9000 River Road                   08-14631 (GMB)
                                 Delair, NJ 08110
Shapes L.L.C.                    9000 River Road                   08-14632 (GMB)
                                 Delair, NJ 08110
Ultra L.L.C.                     1777 Hylton Rd.                   08-14633 (GMB)
                                 Pennsauken, NJ 08110
Delair L.L.C.                    8600 River Road                   08-14634 (GMB)
                                 Delair, NJ 08110
Accu-Weld L.L.C.                 1211 Ford Rd.                     08-14635 (GMB)
                                 Bensalem, PA 19020



1
  Section 503(b)(9) claims are claims for the value of any goods received by the Debtors, within
20 days before the commencement of the Chapter 11 cases, in which the goods have been sold to
the Debtors in the ordinary course of business.
                                                2
CHERRY_HILL\444637\2


                                                          Approved by Judge Gloria M. Burns May 28, 2008
               Case
D.N.J. Local Form 24 08-14631-GMB                  Doc 602-2         Filed 08/26/08 Entered 08/26/08 10:14:07 Desc
                              U NITED S TATES B ANKRUPTCY Exhibit
                                                            C OURTB         Page 4 of 4        REQUEST FOR PAYMENT OF
                                    D ISTRICT OF N EW J ERSEY                                                  ADMINISTRATIVE EXPENSE
 In re                                                        Chapter 11

                                                              Case Number


 NOTE: This form should not be used for an unsecured claim arising prior to the commencement of
 the case. In such cases, a proof of claim should be filed in accordance with Official Form 10.

 Name of Creditor                                                    Check box if you are aware
 (The person or other entity to whom the debtor owed                 that anyone else has filed a
 money or property.)                                                 proof of claim relating to your
                                                                     claim. Attach copy of
 _________________________________________                           statement giving particulars.
 Name and Addresses Where Notices Should Be Sent:                    Check box if you have never
                                                                     received any notices from the
                                                                     bankruptcy court in this case.
                                                                     Check box if the address differs
                                                                     from the address on the
                                                                     envelope sent to you by the
                                                                     court.                                  THIS SPACE IS FOR COURT USE ONLY
 ACCOUNT OR OTHER NUMBER BY WHICH CREDITOR                                 Check here if this request:
 IDENTIFIES DEBTOR:                                                          replaces a previously filed request, dated:
                                                                             amends a previously filed request, dated:
 1. BASIS FOR CLAIM
                                                                                         Retiree benefits as defined in 11 U.S.C. §1114(a)
                       Goods Sold                                                        Wages, salaries and compensations (Fill out below)
           !           Services performed
           !           Money loaned                                                      Provide last four digits of your social security number
                       Personal injury/wrongful death
                       Taxes
                       Other (Describe briefly)

 2. DATE DEBT WAS INCURRED:

 3.      TOTAL AMOUNT OF REQUEST AS OF ABOVE DATE:
         _________________

    Check this box if the request includes interest or other charges in addition to the principal amount of the request. Attach itemized statement of all
 interest or additional charges.
 4. Secured Claim
     Check this box if your claim is secured by collateral (including a right of
 setoff).
      Brief Description of Collateral:

               Real Estate                       Motor Vehicle
               Other (Describe briefly)___________________________

         Value of Collateral: $

    Check this box if there is no collateral or lien securing your claim.
 5. Credits: The amount of all payments have been credited and deducted for the purposes of                      T HIS S PACE I S F OR C OURT U SE O NLY
 making this request for payment of administrative expenses.
 6. Supporting Documents: Attach copies of supporting documents, such as purchase orders,
 invoices, itemized statements of running accounts, contracts as well as any evidence of perfection
 of a lien.
      DO NOT SEND ORIGINAL DOCUMENTS. If the documents are not available, explain. If
 the documents are voluminous, attach a summary.
 7.      Date-Stamped Copy: To receive an acknowledgment of the filing of your request, enclose a
         self-addressed envelope and copy of this request.

 Date:                              Sign and print below the name and title, if any, of the creditor
                                    or other person authorized to file this request (attach copy of
                                    power of attorney, if any).

                                    _____________________________________________________

      Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.

         NOTE: The filing of this request will not result in the scheduling of a hearing to consider payment of your
         administrative claim but will result in the registry of your administrative claim with the Bankruptcy Court. If you wish
         to have a hearing scheduled on your claim, you must file a motion in accordance with Bankruptcy Rule 9013.
                                                                                                                           Local Form 24,new. 8/1/06.jml


                                                                                            Approved by Judge Gloria M. Burns May 28, 2008
